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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )   CASE NO.: 1:23-CR-539
                                                    )
                    Plaintiff,                      )   JUDGE PATRICIA A. GAUGHAN
                                                    )
         v.                                         )
                                                    )
  JERRY BAKER, JR.,                                 )
                                                    )   MOTION TO CONTINUE SENTENCING
                 Defendant.                         )   HEARING
                                                    )

        Now comes the United States of America, by and through its counsel, Carol M. Skutnik,

Acting United States Attorney, and Margaret A. Sweeney, Assistant United States Attorney, and

hereby moves this Court to continue the sentencing for Jerry Baker, Jr., until February 26, 2025.

Undersigned counsel has conferred with defense counsel, who has said he is available on this

date.

               This Court rescheduled the sentencing in this matter following Defendant’s

request for additional time to file objections to the presentence report. At the request of the

probation officer, the Court reset the sentencing hearing date for February 18, 2025. However,

undersigned counsel will be out of the district for a Department of Justice conference from

February 18, 2025, through February 20, 2025. Because of counsel’s unavailability, the United

Staes moves to continue the sentencing hearing in this matter until February 26, 2025. The
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Court set a deadline for discovery production in this case of Monday May 13, 2024.




                                                    Respectfully submitted,

                                                    CAROL M. SKUTNIK
                                                    Acting United States Attorney

                                             By:    /s/ Margaret A. Sweeney
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